     Case 3:20-cv-00286-W-AGS Document 55 Filed 08/12/22 PageID.645 Page 1 of 5



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8                     IN THE UNITED STATES DISTRICT COURT
9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA; the                Case No.: 3:20-cv-00286-W-AGS
     States of CALIFORNIA, COLORADO,
12
     CONNECTICUT, DELAWARE,                       RESPONSE TO DEFENDANTS’
13   FLORIDA, GEORGIA, HAWAII,                    NOTICE OF SUPPLEMENTAL
     ILLINOIS, INDIANA, IOWA,                     AUTHORITY
14
     LOUISIANA, MARYLAND,
15   MASSACHUSETTS, MICHIGAN,                     Ctrm: 3C – Hon. Thomas J. Whelan
     MINNESOTA, MONTANA,
16
     NEVADA, NEW JERSEY, NEW
17   MEXICO, NEW YORK, NORTH
     CAROLINA, OKLAHOMA, RHODE
18
     ISLAND, TENNESSEE, TEXAS,
19   VIRGINIA, and WASHINGTON; the
     DISTRICT OF COLUMBIA; ex rel.,
20
     EVEREST PRINCIPALS, LLC,
21                      Plaintiffs and Relator,
22   v.
23
     ABBOTT LABORATORIES, INC.
24   a/k/a ABBOTT LABORATORIES,
     ABBOTT CARDIOVASCULAR
25
     SYSTEMS, INC., and ABBOTT
26   VASCULAR, INC.,
27                                 Defendants.
28

     RELATOR’S RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
                                                                          3:20-cv-00286-W-AGS
     Case 3:20-cv-00286-W-AGS Document 55 Filed 08/12/22 PageID.646 Page 2 of 5



1          Defendants have submitted the Eighth Circuit’s recent decision in U.S. ex rel.
2    Cairns v. D.S. Medical LLC, et al., No. 20-2445 (8th Cir. July 26, 2022), in support of
3    their position that, to establish False Claims Act (“FCA”) claims based on violations
4    of the Anti-Kickback Statute (“AKS”), Relator “must allege and ultimately prove that
5    the claims [for reimbursement] ‘would not have included particular items or services
6    absent the illegal kickbacks.’” ECF No. 54 (“Notice”), at 1. The Eighth Circuit held
7    in Cairns that “when a plaintiff seeks to establish falsity or fraud through the 2010
8    amendment [to the AKS], it must prove that a defendant would not have included
9    particular ‘items or services’ but for the illegal kickbacks.” Notice, Ex. A, at 14.1
10   Cairns is not applicable to this Court’s analysis of Defendants’ motion to dismiss
11   (“Motion”) for at least two reasons.
12         First, Cairns contradicts the views of this Circuit, and the First, Third, Fifth,
13   Seventh, and Tenth Circuits. As discussed in Relator’s opposition to Defendants’
14   Motion, these Circuits hold that, to establish an AKS-based FCA claim, a relator
15   “need only prove that ‘one purpose’ of remuneration is to induce a person to use a
16   service for which payment is made under a federal health care program.” ECF No. 48
17   (“Opp.”), at 21-22 (quoting United States v. TEVA Pharms. USA, Inc., 2016 WL
18   750720, at *17 (S.D.N.Y. Feb. 22, 2016) (citing cases)). In Greenfield, the Third
19   Circuit clarified that, under the “one purpose” paradigm, a relator need not prove that
20   a false claim would not have been made without a kickback; only a “link” is required.
21   See Greenfield, 880 F.3d at 98. It also addressed Burrage v. United States, 571 U.S.
22   204 (2014) and rejected the “ordinary meaning” argument credited in Cairns and
23   advocated by Defendants because of, among other things, its “incongruous results”
24
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     1
27     As the Third Circuit explained in United States ex rel. Greenfield v. Medco Health
     Sols., Inc., the 2010 amendment to the AKS “clarif[ied], [but did] not alter, existing
28   law that claims for payment made pursuant to illegal kickbacks are false under the
     False Claims Act.” 880 F.3d 89, 95 (3d Cir. 2018) (brackets in original).
     RELATOR’S RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY                    -1-
                                                                              3:20-cv-00286-W-AGS
     Case 3:20-cv-00286-W-AGS Document 55 Filed 08/12/22 PageID.647 Page 3 of 5



1    and the “drafters’ intentions.” Id. at 96.2 The Ninth Circuit has yet to comment on
2    Greenfield, but the First Circuit followed it in Guilfoile v. Shields, 913 F.3d 178 (1st
3    Cir. 2019).
4          The Eighth Circuit expressly departed from Greenfield in Cairns because, as it
5    explained, the Third Circuit “rel[ied] on legislative history and ‘the drafters’
6    intentions’ to interpret the statute.” Notice, Ex. A, at 14. The Ninth Circuit, however,
7    followed the Third Circuit’s “one purpose” paradigm precisely because of the
8    “legislative history” and the “drafters’ intentions” spurned in Cairns. See United
9    States v. Kats, 871 F.2d 105, 108 (9th Cir. 1989) (explaining the Third Circuit’s
10   “interpretation [in United States v. Greber, 760 F.2d 68, 69 (3d Cir.1985)] is
11   consistent with the legislative history” and discussing that legislative history). The
12   other Circuits are in accord with the Ninth and Third Circuit’s approach. See United
13   States v. McClatchey, 217 F.3d 823, 835 (10th Cir. 2000) (“This court agrees with the
14   sound reasoning in Greber”); United States v. Borrasi, 639 F.3d 774, 782 (7th Cir.
15   2011) (“We find the reasoning of the Third, Fifth, Ninth, and Tenth Circuits
16   convincing”). Accordingly, this Court should reject the Eighth Circuit’s anomalous
17   view here.
18         Second, Cairns was an appeal on a jury verdict, i.e., a full evidentiary record
19   had been developed,3 and thus a procedural posture with significantly different
20   requirements than the pleading standard governing Defendants’ Motion. In this
21   Circuit, Relator is only required to allege the “particular details of a scheme to submit
22
     2
23     As the Third Circuit recognized, adopting the “ordinary meaning” now endorsed by
     the Eighth Circuit would create the “incongruous result whereby ‘a defendant could be
24   convicted of criminal conduct under the [Anti–Kickback Statute] for paying kickbacks
25   to induce medical referrals, but would be insulated from civil [False Claims Act]
     liability for the exact same conduct, absent additional proof that each medical decision
26   was in fact corrupted by the kickbacks.’” Greenfield, Inc., 880 F.3d at 96 (brackets in
27   original. Cairns does not address this problem.
     3
       The Eighth Circuit even explicitly acknowledged that “the government presented
28   enough evidence on the ‘essential elements’ of the claim, including causation, to
     receive a new trial.” Notice, Ex. A, at 14 n.3.
     RELATOR’S RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY                    -2-
                                                                              3:20-cv-00286-W-AGS
     Case 3:20-cv-00286-W-AGS Document 55 Filed 08/12/22 PageID.648 Page 4 of 5



1    false claims paired with reliable indicia that lead to a strong inference that claims were
2    actually submitted.” Ebeid ex rel. U.S. v. Lungwitz, 616 F.3d 993, at 998-9 (9th Cir.
3    2010) (citation omitted). Relator has clearly done so here (see Opp. at 17-21 (Section
4    IV.B.4)), and the Cairns decision is irrelevant to determining that the First Amended
5    Complaint meets the requisite pleading standard in this Circuit.
6
7                                                  Respectfully submitted,
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     RELATOR’S RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY                   -3-
                                                                             3:20-cv-00286-W-AGS
     Case 3:20-cv-00286-W-AGS Document 55 Filed 08/12/22 PageID.649 Page 5 of 5



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     RELATOR’S RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY                -4-
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